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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
KIM KATORA BROWN, et al.,           )
                                    )
            Plaintiffs,             )
v.                                  )
                                    )
GOVERNMENT OF THE                   )    Civil Action No. 13-00569 (KBJ)
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
___________________________________ )

  DEFENDANT DISTRICT OF COLUMBIA’S NOTICE OF RELATED CASES
                REGARDING CIVIL FORFEITURES

       Pursuant to Federal Rule of Civil Procedure 83 and Rule 40.5 of the Local Rules

of Civil Procedure for the United States District Court for the District of Columbia,

Defendant District of Columbia (“the District”) hereby provides notice that the above-

captioned civil matter is related to other civil actions pending before this District Court.

       The District respectfully notifies the Court that Brown v. District of Columbia,

Civ. A. No. 13-0686 (ESH) (D.D.C. May 13, 2013), is related to the above-captioned

matter because both cases are putative class actions alleging that the District has violated

vehicle owners’ due process rights by (a) not having a preliminary hearing to challenge

the District’s retention of a vehicle seized for forfeiture and (b) requiring bond (or waiver

of the bond requirement) to challenge the District’s retention of such a vehicle.

       The District further respectfully notifies the Court that Hardy v. District of

Columbia, Civ. A. No. 09-1062 (RLW) (D.D.C. June 8, 2009), is related to the above-

captioned matter because both cases are putative class actions alleging that the District




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has violated currency owners’ due process rights by failing to provide adequate notice to

owners before forfeiting the currency.

        Because Brown v. District of Columbia and Hardy v. District of Columbia involve

common issues of fact and law, both of those cases are related to the instant case. See

LCvR 40.5 (a)(3)(ii), (iii).

Date: August 26, 2013                Respectfully submitted,

                                     IRVIN B. NATHAN
                                     Attorney General for the District of Columbia

                                     ELLEN A. EFROS
                                     Deputy Attorney General
                                     Public Interest Division


                                     /s/ Grace Graham
                                     GRACE GRAHAM [D.C. Bar No. 472878]
                                     Chief, Equity Section
                                     Public Interest Division

                                     /s/ Gary Feldon       __________________
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